     Case 1:19-cv-01974-TNM Document 1-12 Filed 07/02/19 Page 1 of 9




                IN THE UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF COLUMBIA


COMMITTEE ON WAYS AND MEANS,
UNITED STATES HOUSE OF REPRESENTATIVES,
1102 Longworth House Office Building
Washington, D.C. 20515,

                            Plaintiff,

           v.                                         Case No. 1:19-cv-1974

UNITED STATES DEPARTMENT OF
THE TREASURY,
1500 Pennsylvania Avenue N.W.
Washington, D.C. 20220, et al.,

                             Defendants.




                            Exhibit L
                             Case 1:19-cv-01974-TNM Document 1-12 Filed 07/02/19 Page 2 of 9
     RI CHARD E. NEAL,
     MASSACHUSETIS,
         CHAIRMAN
                                           Qeongregg of tbe Wniteb ~tateg                                         KEVIN BRADY,
                                                                                                                     TEXAS,
                                                                                                                RANKING MEMBER

JOHN LEWIS, GEORGIA
LLOYD DOGGETT, TEXAS
                                              m.~. J!,ouse of l\epresentatibes                            DEVIN NUNES, CALIFORNIA
                                                                                                          VERN BUCHANAN, FLORIDA
MIKE THOMPSON, CALIFORN IA                                                                                ADRIAN SM ITH, NEBRASKA
JOHN 8. LARSON, CONN ECTICUT                       COMMITIEE ON WAYS AND MEANS                            KENNY MARCHANT, TEXAS
EARL BLUMEN AUER. OREGON                                                                                  TOM REED, NEW YORK
RON KIND, WISCONSIN                               1102 LONGWORTH HOUSE OFFICE BUILDING                    M IKE KELLY, PENNSYLVANIA
BILL PASCRELL JR., NEW JERSEY                                                                             GEORGE HOLDING, NORTH CAROLINA
DANN Y K. DAVIS, ILLIN OIS
                                                             (202) 225-3625                               JASON SMITH, MISSOURI
LINDA T. SANCHEZ, CALIFORN IA                                                                             TOM RICE, SOUTH CAROLINA
BRIAN HIGGINS, NEW YORK
TERR I A. SEWELL, ALABAMA
                                                   wmtn.sbington, 11)(( 20515-0348                        DAVID SCHWEIKERT, A RIZONA
                                                                                                          JACKIE WALORSKI, IN DIANA
SUZAN DE LBENE, WASHINGTON                                                                                DARIN LAHOOD, ILLINOIS
JUDY CHU, CALIFORNIA                                  http://waysandmeans.house.g ov                      BRAD R. WENSTRUP, OHIO
GWEN MOORE, WISCONSIN                                                                                     JODEY ARRINGTON, TEXAS
DAN KI LDE E, MICHIGA N                                                                                   DREW FERGUSON, GEORGIA
BREN DAN BOYLE , PENNSYLVAN IA                                                                            RON ESTES. KANSAS
DON BEYEA, VIRGINIA
DWIGHT EVANS. PEN NSYLVANIA
                                                                                                          GARY ANDRES,
BRAD SCHNEIDER, ILLINOIS
                                                                                                             MINORITY STAFF DIRECTOR
TOM SUOZZI, NEW YORK
JIMMY PANETTA , CALIFORNIA
STEPHANIE MURPHY, FLORIDA
JIMMY GOMEZ, CALIFORNIA
STEVEN HOR SFORD, NEVADA
                                                            May 10, 2019
BRAN DON CASEY,
   MAJORITY STAFF DIRECTOR




              The Honorable Charles P. Rettig                            The Honorable Steven T. Mnuchin
              Commissioner                                               Secretary
              Internal Revenue Service                                   Department of the Treasury
              1111 Constitution Avenue, NW                               1500 Pennsylvania A venue, NW
              Washington, D.C. 20224                                     Washington, D.C. 20220

              Dear Commissioner Rettig and Secretary Mnuchin,

                      To date, the Internal Revenue Service ("IRS") has failed to provide the return and return
              information requested by my April 3, 2019 letter, despite an unambiguous legal obligation to do
              so. Such information originally was due by April 10, 2019. In a letter dated April 23, 2019, I was
              notified that the Department of the Treasury ("Treasury") was consulting with the Department of
              Justice ("Justice") in connection with this request. The letter advised that Treasury, and not the
              IRS, expected to provide the Committee on Ways and Means (" Committee") a final decision by
              May 6, 2019, after it had received Justice' s legal guidance. On May 6, relying on advice from
              Justice, Treasury notified me by letter of its determination that it is not authorized to disclose the
              requested tax returns and return information because the Committee' s request "lacks a legitimate
              legislative purpose."

                       As stated in my prior correspondence, the IRS is under a mandatory obligation to provide
              the information requested under section 6103(f)(l) of the Internal Revenue Code, which states that
              "[u]pon written request from the chairman of the Committee on Ways and Means of the House of
              Representatives, the chairman of the Committee on Finance of the Senate, or the chairman of the
              Joint Committee on Taxation, the Secretary shall furnish such committee with any return or return
              information specified in such request" (emphasis added). Section 6103 has long been regarded as
              clear and unambiguous. Compliance is not discretionary under any circumstance, even if the
              taxpayer is under audit. The Conu11ittee never has been denied a request made under section
              6103(f). Although the Committee is not required to provide a reason for requests under section
              6103(f), I am responding to your letters out of respect for the IRS, Treasury, and their responsibility
              to fairly and impartially administer the Federal tax laws.

                           The Committee Has a Legitimate Legislative Purpose

                       The April 23 letter alleges that the Committee' s asserted purpose is a pretext, but this claim
              is false. As stated in my April 3 letter, the Committee requested the return and return information
          Case 1:19-cv-01974-TNM Document 1-12 Filed 07/02/19 Page 3 of 9

Commissioner Rettig
Secretary Mnuchin
May JO, 2019
Page 2

because it is considering legislative proposals and conducting oversight related to our Federal tax
laws, including, but not limited to, the extent to which the IRS audits and enforces the Federal tax
laws against a President. Earlier this Congress, compliance and disclosure related to the Federal
tax returns of the President and Vice President were included in the scope of a Committee hearing.
As you know, the mandatory examination of the President and Vice President is set forth in the
Internal Revenue Manual (" IRM") but is not codified. Legislation may therefore be necessary. It
cannot be denied that legislation related to IRS examination and enforcement is within the
Committee's jurisdiction, and the Committee has a responsibility to inform itself in the course of
legislating.

        The President is the most powerful public official in this country. No other single
American has the power to sign bills into law and direct an entire branch of government. The
Committee believes this fact calls for concordant scrutiny into the President's ability to influence,
even indirectly, the administration of the Federal tax laws. The purpose underlying inclusion of
the mandatory audit in the IRM was so that no IRS employee would have to make the decision to
audit a sitting President. 1 However, there is more to an audit than just the decision to initiate it.
Among other considerations, the Committee wants to be sure that IRS employees who determine
the scope of the President's audit, or who determine whether to continue previously-initiated
audits, are protected in the course of their work.

        As the Supreme Court has stated: "A legislative body cannot legislate wisely or effectively
in the absence of information respecting the conditions which the legislation is intended to affect
or change; and where the legislative body does not itself possess the requisite information-which
not infrequently is true-recourse must be had to others who do possess it." 2 With respect to the
Committee' s consideration of legislative proposals concerning mandatory examination, the
President's tax returns and return information are necessary to guide that legislative action.

          Treasury takes issue with the fact that the Committee seeks tax inforn1ation related to only
the current President. This concern is misplaced and ignores the fact that the tax issues raised by
the current President are unique. The President has stated repeatedly that his returns are under
routine audit,3 and, in 2016, his tax attorneys reported that his returns have been under continuous
examination since 2002 and involve transactions and activities reported on returns in 2008 and
earlier. 4 The continuous audit and activities from 2008 and before, the use by the President of a
granter trust controlling hundreds of businesses, and the volume of his tax returns5 make this
President markedly different from previous Presidents or Vice Presidents examined under the
IRS's mandatory audit procedures.


1
  JCX-3-19, Background Regarding the Confidentiality and Disclosure of Federal Tax Returns (Feb. 4, 2019), at 21
(quoting IRS spokesperson).
2 McGrain v. Daugherty, 273 U.S. 135, 175 ( 1927).
3
  See, e. g., Donald J. Trump (@realDonaldTrump), Twitter (May 11 , 2016, 1:51 PM),
https://twitter.com/real DonaldTrump/status/730500562022760448 .
4
  Letter from Sheri A. Dillon and William F. Nelson to Mr. Donald J. Trump, Re: Status of U.S. federal income tax
returns (Mar. 7, 2016).
5 See, e.g. , Donald J. Trump (@realDonaldTrump), Twitter (Oct. 15, 2015, 10:13 AM),

https://twitter.com/ realDonaldTrump/status/654706635663773696.
           Case 1:19-cv-01974-TNM Document 1-12 Filed 07/02/19 Page 4 of 9
Commissioner Rettig
Secretary Mnuchin
May 10,2019
Page 3

         Case Law Supports the Committee

         The April 23 letter relies heavily on a single quotation from Watkins v. United States about
exposure "for the sake of exposure."6 In Watkins, the facts at hand and the nature of the
investigation were wholly different from the Committee' s current oversight efforts. The
Committee' s eff01is to understand the IRS ' s mandatory audit of the President, the head of the
Executive Branch, bear no similarity to the House Un-American Activities Committee's efforts to
uncover members of the Communist Party. Moreover, the Court' s objection in Watkins was that
the witness was not informed adequately of the scope of the Committee's investigation, a defect
that certainly cannot be claimed here. In this instance, the Committee clearly has defined the scope
of its investigation, and your letters evidence that you are fully aware of and have spent much time
pondering the Committee's legislative purpose.

         Furthermore, selectively quoting from Watkins does not erase the remainder of the Court's
opinion. Importantly, the Court lays out the IRS ' s obligation here: " It is unquestionably the duty
of all citizens to cooperate with the Congress in its efforts to obtain the facts needed for intelligent
legislative action. It is their unremitting obligation ... to respect the dignity of the Congress and
its committees." 7 Watkins also undermines Treasury' s efforts to second-guess why the Committee
requested certain tax returns instead of others: "The legislature is free to determine the kinds of
data that should be collected." 8 Clearly, the Supreme Court agrees that Congress is in the best
position to determine what information it requires to perform its own legislative work.

        In closing, I appreciate Treasury' s offer for a briefing. A briefing, however, is not a
substitute for the requested tax returns and return information. In total, the IRS has had more than
four weeks to comply with the Committee's straightforward request. Therefore, please see the
enclosed subpoena. The return date is May 17, 2019. Thank you for your prompt attention to this
matter.

                                              Sincerely,




                                              The Honorable Richard E. N€al, Chairm
                                              Committee on Ways and Means


Enclosure




6
  354 U.S. 178, 200 (1957).
7
  /d.atl87.
8
  Id. at 215.
                  Case 1:19-cv-01974-TNM Document 1-12 Filed 07/02/19 Page 5 of 9



                                                   SUBPOENA

              BY AUTHORITY OF THE HOUSE OF REPRESENTATIVES OF THE
                   CONGRESS OF THE UNITED STATES OF AMERICA
   The Honorable Charles Rettig, Commissioner
To Internal Revenue Service

         You are hereby commanded to be and appear before the
                 Committee on Ways and Means


         of the House of Representatives of the United States at the place, date, and time specified below.

0     to produce the things identified on the attached schedule touching matters of inquiry committed to said
      committee or subcommittee; and you are not to depart without leave of said committee or subcommittee.


         Place of production: 1102 Longworth House Office Building, Washington, D.C. 20515

          Date: May 17, 2019                                                    Time: 5:00 p.m.

D     to testify at a deposition touching matters of inquiry committed to said committee or subcommittee;
      and you are not to depart without leave of said committee or subcommittee.

         Place of testimony:

         Date:                                                                 Time:
     I                                                                                 ----------
D     to testify at a hearing touching matters of inquiry committed to said committee or subcommittee; and
       you are not to depart without leave of said committee or subcommittee.

          Place of testimony:

          Date:
                  ---------                                                     Time:
                                                                                       ----------
To examiners or agents designated by Chairman Richard Neal
                                                                                           to serve and make return.

                                Witness my hand and the seal of the House of Representatives of the United'States, at

                                   the city of Washington, D.C. this 1~                           ,   ttt--;f;!
                     ~                                                            Chairman or Authorized Member
        Case 1:19-cv-01974-TNM Document 1-12 Filed 07/02/19 Page 6 of 9



                                           Schedule A

       In accordance with the attached instructions, you are required to produce, for each of the
tax years 2013 through 2018, the following return and return information:

       1. The Federal individual income tax returns of Donald J. Trump.

       2. All administrative files (workpapers, affidavits, etc.) for each requested Federal
          individual income tax return of Donald J. Trump.

       3. The Federal income tax returns of the following entities:

               •   The Donald J. Trump Revocable Trust;
               •   DJT Holdings LLC;
               •   DJT Holdings Managing Member LLC;
               •   DTTM Operations LLC;
               •   DTTM Operations Managing Member Corp;
               •   LFB Acquisition Member Corp;
               •   LFB Acquisition LLC; and
               •   Lamington Farm Club, LLC d/b/a Trump National Golf Club- Bedminster.

       4. All administrative files (workpapers, affidavits, etc.) for each requested Federal
          income tax return of each entity listed above.
     Case 1:19-cv-01974-TNM Document 1-12 Filed 07/02/19 Page 7 of 9



                                Schedule B (Instructions)

1. In complying with this subpoena, you are required to produce all responsive documents
   that are in your possession, custody, or control, whether held by you or your past or
   present agents, employees, and representatives acting on your behalf.

2. Subpoenaed documents, and all documents reasonably related to the subpoenaed
   documents, should not be destroyed, altered, removed, transferred, or otherwise made
   inaccessible to the Committee on Ways and Means ("Committee").

3. In the event that any entity, organization, or individual denoted in this subpoena is or has
   been known by any name other than that herein denoted, the subpoena shall be read also
   to include that alternative identification.

4. All documents shall be Bates-stamped sequentially and produced sequentially.

5. Documents produced in electronic format should be organized, identified, and indexed
   electronically. The Committee's preference is to receive any electronic documents in
   Portable Document Format (PDF).

6. Documents produced in response to this subpoena should include an index describing the
   contents of the production. To the extent more than one CD, hard drive, memory stick,
   thumb drive, zip file, box, or folder is produced, each should contain an index describing
   its contents.

7. Documents produced in response to this subpoena shall be produced together with copies
   of file labels, dividers, or identifying markers with which they were associated when the
   subpoena was served.

8. When you produce documents, you should identify the paragraph(s) in the subpoena
   schedule to which the documents respond.

9. The pendency of or potential for litigation shall not be a basis to withhold any
   information.

10. In accordance with 5 U.S.C. § 552(d), the Freedom of Information Act ("FOIA") and any
    statutory exemptions to FOIA shall not be a basis for withholding any infonnation.

11. Pursuant to 5 U.S.C. § 552a(b)(9), the Privacy Act shall not be a basis for withholding
    information.

12. If compliance with the subpoena cannot be made in full by the specified due date,
    compliance shall be made to the extent possible by that date. An explanation of why full
    compliance is not possible shall be provided along with any partial production.
     Case 1:19-cv-01974-TNM Document 1-12 Filed 07/02/19 Page 8 of 9



13. In the event that a document is withheld in full or in part on a claim of privilege, provide
    a privilege log containing the following information concerning any such document: (a)
    every privilege asserted; (b) the type of document; (c) the general subject matter; (d) the
    date, author, addressee, and any other recipient(s); (e) the relationship of the author and
    addressee to each other; and (f) the basis for the privilege(s) asserted. If a claimed
    privilege applies to only a portion of any document, that portion only should be withheld
    and the remainder of the document should be produced. As used herein, "claim of
    privilege" includes, but is not limited to, any claim that a document either may or must be
    withheld from production pursuant to any statute, rule, or regulation.

14. In complying with the subpoena, be apprised that (unless otherwise determined by the
    Committee) the Committee does not recognize: any purported non-disclosure privileges
    associated with the common law including, but not limited to, the deliberative-process
    privilege, the attorney-client privilege, and attorney work product protections; any
    purported privileges or protections from disclosure under FOIA or the Privacy Act; or
    any purported contractual privileges, such as non-disclosure agreements.

15. Any assertion by a subpoena recipient of any such non-constitutional legal bases for
    withholding documents or other materials shall be of no legal force and effect and shall
    not provide a justification for such withholding or refusal, unless and only to the extent
    that the Committee (or the chair of the Committee, if authorized) has consented to
    recognize the assertion as valid.

16. If any document responsive to this subpoena was, but no longer is, in your possession,
    custody, or control, identify the document (by date, author, subject, and recipients), and
    explain the circumstances under which the document ceased to be in your possession,
    custody, or control.

17. If a date or other descriptive detail set forth in this subpoena referring to a document is
    inaccurate, but the actual date or other descriptive detail is known to you or is otherwise
    apparent from the context of the subpoena, produce all documents that would be
    responsive as if the date or other descriptive detail were correct.

18. This subpoena is continuing in nature and applies to any new information. Any record,
    document, compilation of data, or information not produced because it has not been
    located or discovered by the due date shall be produced i1mnediately upon subsequent
    location or discovery.

19. Upon completion of the production, submit a written certification, signed by you or your
   counsel, stating that: ( 1) a diligent search has been completed of all documents in your
   possession, custody, or control that reasonably could contain responsive documents; and
   (2) all documents located during the search that are responsive have been produced to the
   Committee.
    Case 1:19-cv-01974-TNM Document 1-12 Filed 07/02/19 Page 9 of 9



                               Schedule C (Definitions)

1. The term "return" shall have the meaning given to it in 26 U.S.C. § 6103(b)(l).

2. The term "return information" shall have the meaning given to it in 26 U.S.C.
   § 6103(b)(2).

3. The term "individual income tax return" shall have the meaning given to it in 26 U.S.C.
   § 60I l(e)(3)(C).
